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                                                                                   United States Bankruptcy Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                         UNITED STATES BANKRUPTCY COURT                                   May 28, 2024
                           SOUTHERN DISTRICT OF TEXAS                                  Nathan Ochsner, Clerk
                                 HOUSTON DIVISION

In re:                                          §
                                                §
FREE SPEECH SYSTEMS, LLC,                       §           Case No. 22--60043
                                                §
                              DEBTOR.           §           (Subchapter V Debtor)
                                                §               Chapter 11

 ORDER GRANTING FOURTH INTERIM AND FINAL FEE APPLICATION OF LAW
  OFFICES OF RAY BATTAGLIA, PLLC, FORMER COUNSEL TO FREE SPEECH
  SYSTEMS, LLC FOR ALLOWANCE AND PAYMENT OF COMPENSATION AND
    REIMBURSEMENT OF EXPENSES INCURRED FOR THE PERIOD FROM
                JULY 29, 2022, THROUGH MARCH 11, 2024

         On this day came on for consideration the Fourth Interim and Final Fee Application of

the LAW OFFICES OF RAY BATTAGLIA, PLLC, Counsel to Free Speech Systems, LLC,

(“Debtor”) for legal services rendered from July 29, 2022, through March 11, 2024 (the

“Application”) seeking allowance of compensation incurred during such period of time, and the

Court having jurisdiction over the matters raised in the Application pursuant to 28 U.S.C. §

1334; and the Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)

and that the Court may enter a final order consistent with Article III of the United States

Constitution; and the Court having found that venue of this proceeding and the Application in

this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having found that

proper and adequate notice of the Application has been given and that no other or further notice

is necessary; and after considering the pleadings of record and the arguments of counsel;

         THE COURT FINDS that the legal services provided by Applicant were necessary and

beneficial to the estate and that the fees and expenses sought are reasonable after considering the

following factors: (1) the time and labor required; (2) the novelty and difficulty of the questions
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presented; (3) the customary fee; (4) whether the fee is fixed or contingent; (5) the amount

involved and the results obtained; (6) the experience, reputation and ability of the professionals;

(7) the “undesirability” of the case; and (8) awards in similar cases.

       IT APPEARING that to the extent herein provided, that final compensation and

reimbursement of out-of-pocket expenses should be authorized; it is, therefore,

       ORDERED THAT:

       1.      The LAW OFFICES OF RAY BATTAGLIA, PLLC shall be, and hereby is

awarded FINAL compensation in the amount of $778,212.21 for services rendered and

expenses incurred as legal counsel to the Debtor for the period from July 29, 2022, through

March 11, 2024, and for services rendered thereafter in aid of transition to substitute counsel for

the Debtor (the “Application Period”).

       2.      Reimbursement to the LAW OFFICES OF RAY BATTAGLIA, PLLC for

expenses incurred during the Application Period is allowed on a FINAL basis in the amount of

$24,006.77.

       3.      The LAW OFFICES OF RAY BATTAGLIA, PLLC is awarded on a FINAL

basis fees and costs as an administrative expense for the Application Period, as follows:

            Fees:     $778,212.21
            Expenses: $24,006.77
            Total:    $802,218.98

       4.      The LAW OFFICES OF RAY BATTAGLIA, PLLC is hereby authorized to

withdraw funds from the balance held in its retainer account as partial payment for the allowed

compensation and expense reimbursement allowed pursuant to this Order.


         August
         May     02, 2019
             28, 2024




                                                  2
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       5.     The Debtor is authorized and directed to pay The LAW OFFICES OF RAY

BATTAGLIA, PLLC the balance of the allowed fees and expenses allowed pursuant to this

Order which remain unpaid after crediting all payments all fees and expenses.


Houston, Texas
Dated: May___, 2024

                                              UNITED STATES BANKRUPTCY JUDGE




                                               3
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                                                              United States Bankruptcy Court
                                                                Southern District of Texas
In re:                                                                                                                 Case No. 22-60043-cml
Free Speech Systems LLC                                                                                                Chapter 11
Official Committee of Unsecured Creditor
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0541-4                                                  User: ADIuser                                                               Page 1 of 9
Date Rcvd: May 28, 2024                                               Form ID: pdf002                                                           Total Noticed: 26
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 30, 2024:
Recip ID                 Recipient Name and Address
db                     + Free Speech Systems LLC, 3019 Alvin Devane Blvd. STE 300, Austin, TX 78741-7417
aty                    + Harold Hap May P.C., 1500 S. Dairy Ashford Rd., Ste. 325, Houston, TX 77077-3861
aty                    + Jonathan Day, Paul, Weiss, Rifkind, Wharton & Garrison, 1285 Avenue of the Americas, New York, NY 10019-6031
aty                      Kyung Shik Lee, Shannon & Lee LLP, Pennzoil Place-Suite 1300, HOUSTON, TX 77027, UNITED STATES
aty                    + Leslie E. Liberman, Paul, Weiss, Rifkind, Wharton & Garrison, 1285 Avenue of the Americas, New York, NY 10019-6031
aty                    + Paul Andrew Paterson, Paul, Weiss, Rifkind, Wharton & Garrison, 1285 Avenue of the Americas, New York, NY 10019-6031
aty                    + Ray Battaglia, 66 Granburg Circle, San Antonio, TX 78218, UNITED STATES 78218-3010
aty                    + Richard A. Cochrane, Caldwell Cassady Curry PC, 2121 N. Pearl St., Ste. 1200, Dallas, TX 75201-2494
aty                    + Shannon & Lee LLP, 700 Milam Street, STE 1300, Houston, TX 77002-2736
aty                    + Vida Robinson, Paul, Weiss, Rifkind, Wharton & Garrison, 1285 Avenue of the Americas, New York, NY 10019-6031
cr                     + AXOS Bank, c/o Quilling Selander Lownds, 2001 Bryan Street, Suite 1800, Dallas, TX 75201-3070
intp                   + Alex E Jones, c/o Jordan & Ortiz PC, 500 N Shoreline Blvd, Ste 900, Corpus Christi, TX 78401-0658
cr                     + Ally Bank, c/o Quilling, Selander, et al, 2001 Bryan Street, Suite 1800, Dallas, TX 75201-3070
cr                     + David Wheeler, et al., c/o Cain & Skarnulis PLLC, 303 Colorado Street, Suite 2850, Austin, TX 78701-0137
cr                     + Elevated Solutions Group, LLC, c/o Walker & Patterson, P.C., P.O. Box 61301, Houston, TX 77208-1301
cr                     + Erica L. Ash, c/o Cain & Skarnulis PLLC, 303 Colorado Street, Suite 2850, Austin, TX 78701 UNITED STATES 78701-0137
cr                     + Reeves Law, PLLC, 702 Rio Grande St., Ste. 203, Austin, TX 78701-2720
cr                     + Richard M. Coan, c/o Cain & Skarnulis PLLC, 303 Colorado Street, Suite 2850, Austin, TX 78701-0137
cr                     + Security Bank of Crawford, P.O. BOx 90, Crawford, Tx 76638-0090

TOTAL: 19

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
cr                     ^ MEBN
                                                                                        May 28 2024 21:47:00      AXOS Bank, c/o Quilling Selander Lownds, 2001
                                                                                                                  Bryan Street, Suite 1800, Dallas, TX 75201-3070
cr                     ^ MEBN
                                                                                        May 28 2024 21:47:36      Ally Bank, c/o Quilling, Selander, et al, 2001
                                                                                                                  Bryan Street, Suite 1800, Dallas, TX 75201-3070
cr                     + Email/PDF: acg.acg.ebn@aisinfo.com
                                                                                        May 28 2024 22:04:48      Ally Bank, c/o AIS Portfolio Services, LLC, 4515
                                                                                                                  N Santa Fe Ave. Dept. APS, Oklahoma City, OK
                                                                                                                  73118-7901
cr                        Email/PDF: bncnotices@becket-lee.com
                                                                                        May 28 2024 21:50:54      American Express National Bank, c/o Becket and
                                                                                                                  Lee LLP, PO Box 3001, Malvern, PA 19355-0701
crcm                   + Email/Text: mbrimmage@akingump.com
                                                                                        May 28 2024 21:48:00      Official Committee of Unsecured Creditors of
                                                                                                                  Alexa, c/o Marty L. Brimmage, Jr., Akin Gump
                                                                                                                  Strauss Hauer & Feld LLP, 2300 N. Field Street,
                                                                                                                  Suite 1800, Dallas, TX 75201-4675
cr                     + Email/Text: lemaster@slollp.com
                                                                                        May 28 2024 21:47:00      PQPR Holdings Limited, LLC, c/o Streusand
                                                                                                                  Landon Ozburn & Lemmon LLP, attn: Stephen
                   Case 22-60043 Document 917 Filed in TXSB on 05/30/24 Page 5 of 12
District/off: 0541-4                                               User: ADIuser                                                          Page 2 of 9
Date Rcvd: May 28, 2024                                            Form ID: pdf002                                                      Total Noticed: 26
                                                                                                            Lemmon, 1801 S. Mopac Expressway, Suite 320,
                                                                                                            Austin, TX 78746-9817
cr                    ^ MEBN
                                                                                   May 28 2024 21:44:58     Texas Comptroller of Public Accounts, Revenue
                                                                                                            Acco, Kimberly A. Walsh, PO Box 12548, Austin,
                                                                                                            TX 78711-2548
cr                    ^ MEBN
                                                                                   May 28 2024 21:44:59     Texas Comptroller of Public Accounts, Revenue
                                                                                                            Acco, Christopher J. Dylla, P.O. Box 12548,
                                                                                                            Austin, TX 78711-2548
cr                    + Email/Text: BKECF@traviscountytx.gov
                                                                                   May 28 2024 21:48:00     Travis County, c/o Jason A. Starks, P.O. Box
                                                                                                            1748, Austin, TX 78767-1748

TOTAL: 9


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
aty                           Akin Gump Strauss Hauer & Feld LLP
aty                           Annie Catmull
aty                           O'ConnorWechsler PLLC
aty                           The Law Office of Liz Freeman
cr                            ADP TotalSource, Inc.
wit                           Charles "Charlie" Cicack
res                           Cicack Holdings, LLC
intp                          David Ross Jones
op                            Marc Schwartz
op                            Marc Schwartz
cr                            Public Storage
op                            Schwartz Associates, LLC
op                            Schwartz and Associates, LLC
intp                          Shelby A Jordan
intp                          Sweetwater Holdings Group, Inc.
op                            W. Marc Schwartz
cr              ##+           Leonard Pozner, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin Street, Suite 2700, Houston, TX
                              77002-6774
cr              ##+           Marcel Fontaine, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin, Suite 2700, Houston, TX
                              77002-6774
cr              ##+           Neil Heslin, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin Street, Suite 2700, Houston, TX
                              77002-6774
cr              ##+           Scarlett Lewis, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin Street, Suite 2700, Houston, TX
                              77002-6774
cr              ##+           Veronique De La Rosa, c/o McDowell Hetherington LLP, Attention: Avi Moshenberg, 1001 Fannin Street, Suite 2700, Houston,
                              TX 77002-6774

TOTAL: 16 Undeliverable, 0 Duplicate, 5 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 30, 2024                                        Signature:           /s/Gustava Winters
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District/off: 0541-4                                             User: ADIuser                                                          Page 3 of 9
Date Rcvd: May 28, 2024                                          Form ID: pdf002                                                      Total Noticed: 26



                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 28, 2024 at the address(es) listed below:
Name                            Email Address
Annie E Catmull
                                on behalf of Attorney Annie Catmull aecatmull@o-w-law.com aecatmull@ecf.courtdrive.com,llumtacae@gmail.com

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Annie E Catmull
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                                elisa.weaver@crowedunlevy.com;ecf@crowedunlevy.com

Christopher Dylla
                                on behalf of Creditor Texas Comptroller of Public Accounts Revenue Accounting Division Christopher.Dylla@azag.gov
                      Case 22-60043 Document 917 Filed in TXSB on 05/30/24 Page 7 of 12
District/off: 0541-4                                          User: ADIuser                                                     Page 4 of 9
Date Rcvd: May 28, 2024                                       Form ID: pdf002                                                 Total Noticed: 26
Elizabeth Carol Freeman
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Federico Andino Reynal
                             on behalf of Defendant Free Speech Systems LLC areynal@frlaw.us

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                             Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

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                             Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

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Jarrod B. Martin
                             on behalf of Plaintiff Neil Heslin jarrod.martin@chamberlainlaw.com
                             Lara.Coleman@chamberlainlaw.com;atty_jmartin@bluestylus.com;valerie.herrera@chamberlainlaw.com

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                             on behalf of U.S. Trustee US Trustee jayson.b.ruff@usdoj.gov

Jennifer F Wertz
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Jennifer Jaye Hardy
                      Case 22-60043 Document 917 Filed in TXSB on 05/30/24 Page 8 of 12
District/off: 0541-4                                          User: ADIuser                                                         Page 5 of 9
Date Rcvd: May 28, 2024                                       Form ID: pdf002                                                     Total Noticed: 26
                             on behalf of Plaintiff Estate of Marcel Fontaine jhardy2@willkie.com mao@willkie.com

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Jennifer Jaye Hardy
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Jennifer Jaye Hardy
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Johnie J Patterson
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                             wandp.ecf@gmail.com;WalkerPatterson@jubileebk.net;wp@ecf.courtdrive.com

Johnie J Patterson
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                             wandp.ecf@gmail.com;WalkerPatterson@jubileebk.net;wp@ecf.courtdrive.com

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Kathleen A. O'Connor
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                             sherri.simpson@oag.texas.gov

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Kyung Shik Lee
                             on behalf of Debtor Free Speech Systems LLC kslee50@gmail.com Courtnotices@kasowitz.com

Marty L Brimmage
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                             lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
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                             lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
                             on behalf of Creditor Committee Official Committee of Unsecured Creditors of Alexander E. Jones mbrimmage@akingump.com
                             lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

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                             on behalf of Creditor Scarlett Lewis mbrimmage@akingump.com
                     Case 22-60043 Document 917 Filed in TXSB on 05/30/24 Page 9 of 12
District/off: 0541-4                                         User: ADIuser                                                           Page 6 of 9
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Marty L Brimmage
                            on behalf of Creditor David Wheeler et al. mbrimmage@akingump.com,
                            lmonreal@akingump.com;bkemp@akingump.com;apraestholm@akingump.com;txdocketing@akingump.com

Marty L Brimmage
                            on behalf of Creditor Committee Official Committee Of Unsecured Creditors mbrimmage@akingump.com
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